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    WIKIPEDIA
                                    Psycho (1960 film)                                                                                                                                                 i)
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    Main page                                This article is about the 1960 film. For the 1998 remake, see Psycho (1998 film). For the sequels, see Psycho
    Contents                                 (franchise).
    Current events
                                    Psycho is a 1960 American psychological horror thriller film produced and
    Random article                                                                                                                                      Psycho
    About Wikipedia
                                    directed by Alfred Hitchcock. The screenplay, written by Joseph Stefano,
                                    was based on the 1959 novel of the same name by Robert Bloch. The film
                                                                                                                                                                                           HN
    Contact us                                                                                                                         A ow


                                    stars Anthony Perkins, Janet Leigh, Vera Miles, John Gavin and Martin
                                                                                                                                       eB     en the
    Donate                                                                                                                              orto                  .   &           -


                                    Balsam. The plot centers on an encounter between on-the-run embezzler
                                                                                                                                        ett)




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    Contribute
                                    Marion Crane (Leigh) and shy motel proprietor Norman Bates (Perkins)
                                                                                                                                                                                           al
                                                                                                                                                                      P           y


    Help
                                    and its aftermath, in which a private investigator (Balsam), Marion's lover
    Learn to edit
                                    Sam Loomis (Gavin), and her sister Lila (Miles) investigate her
    Community portal
                                    disappearance.™!
                                                                                                                                                                                          BN
    Recent changes                                                                                                                                                                        maT
    Upload file                     Psycho was seen as a departure from Hitchcock's previous film North by
                                    Northwest, as it was filmed on a lower budget in black-and-white by the
   Tools
                                    crew of his television series Alfred Hitchcock Presents. The film was initially
    What links here
    Related changes
                                    considered controversial and received mixed reviews, but audience interest
    Special pages                   and outstanding box-office returns prompted a major critical re-evaluation.
    Permanent link                  Psycho was nominated for four Academy Awards, including Best
    Page information                Supporting Actress for Leigh and Best Director for Hitchcock.
    Cite this page                                                                                                        Theatrical release poster by Macario Gomez
    Wikidata item
                                    Psycho is now considered one of Hitchcock's best films,!""! and is arguably                                          Quibus!"]
                                    his most famous work.!""! jt has been praised as a major work of cinematic
                                                                                                                         Directed by                         Alfred Hitchcock
    Print/export                    art by international film critics and scholars due to its slick direction, tense
                                                                                                                         Screenplay by                       Joseph Stefano
    Download as PDF                 atmosphere, impressive camerawork, a memorable score and iconic
                                                                                                                         Based on                            Psycho
    Printable version               performances. Often ranked among the greatest films of all time, it seta
                                                                                                                                                             by Robert Bloch

    In other projects
                                    new level of acceptability for violence, deviant behavior and sexuality in           Produced by                         Alfred Hitchcock
                                    American films,''7! and is widely considered to be the earliest example of
    Wikimedia Commons                                                                                                    Starring                            Anthony Perkins
    Wikiquote
                                    the slasher film genre.                                                                                                  Vera Miles

                                    After Hitchcock's death in 1980, Universal Pictures produced follow-ups:                                                 John Gavin
    Languages                 a                                                                                                                              Martin Balsam
                                    three sequels, a remake, a made-for-television spin-off, and a television
    Deutsch                                                                                                                                                  John Mcintire
                                    series set in the 2010s. In 1992, the Library of Congress deemed the film                                                Janet Leigh
    Espanol
    Francais
                                    "culturally, historically, or aesthetically significant" and selected it for         Cinematography                      John L. Russell
    st Oj
                                    preservation in the United States National Film Registry.!'ll"4)                     Edited by                           George Tomasini
    Italiano
                                                            Contents [hide]                                              Music by                            Bernard Herrmann
    Polski
                                                                                                                         Production                          Shamley Productions
    Pycckui                           1 Plot
                                                                                                                         company
    Tiéng Viét                        2 Cast
                                                                                                                         Distributed by                      Paramount Pictures *!
    Px                                3 Production
                                                                                                                         Release dates                       June 16, 1960 (New York
                                              3.1   Development
     Mp 57 more                                                                                                                                              City)
                                              3.2 Screenplay                                                                                                 September 8, 1960
                    # Edit links
                                              3.3 Pre-production                                                                                             (United States)
                                                                                                                                                             (41[5]
                                              3.4 Filming
                                              3.5 Shower scene                                                           Running     time                    109 minutes
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                                                                                                   by = Paramount                                 Pictures" "]
    ma                           3 Production
                                                                                                                  Release dates     June 16, 1960 (New York
                                       3.1    Development                                                                          City)
   3     57 more |
                                       3.2 Screenplay                                                                               September 8, 1960
                 # Edit links          3.3 Pre-production                                                                           (United States)
                                       3.4 Filming                                                                                  co
                                       3.5 Shower scene                                                           Running time      109 minutes
                                 4 Soundtrack                                                                    Country            United States‘!
                                       4.1 Score                                                                  Language          English
                                     4.2 Recordings                                                               Budget            $806,947!
                                 5 Censorship and taboos                                                          Box office        $50 million!®!
                                 6 Release
                                       6.1    Promotion
                                       6.2 Rating
                                       6.3 Re-release
                                       6.4 Television
                                       6.5 Home media
                                 7 Reception
                                       7.1    Critical reception
                                       7.2 Box office
                                 8 Themes and style
                                       8.1 Subversion of romance through irony
                                       8.2 Motifs
                                       8.3 Psychoanalytic interpretation
                                 9 Accolades
                                 10 Legacy
                                 11 Sequels and remake
                                 12 See also
                                 13 Notes
                                 14 References
                                 15 Further reading
                                       15.1     Production of Psycho
                                 16 External links



                                Plot         [edit]
                                During a Friday afternoon tryst in a Phoenix hotel, real estate secretary Marion Crane and her boyfriend Sam Loomis
                                discuss their inability to get married because of Sam's debts. Marion returns to work, steals a cash payment of $40,000
                                entrusted to her for deposit, and sets off to drive to Sam's home in Fairvale, California. Marion hurriedly trades her car en
                                route, arousing suspicion from both the car dealer and a California Highway Patrol officer.

                                Marion stops for the night at the Bates Motel, located off the main highway, and hides the stolen money inside a
                                newspaper. Proprietor Norman Bates descends from a large house overlooking the motel, registers Marion under an
                                assumed name, and invites her to dine with him. After Norman returns to his house, Marion overhears Norman arguing
                                with his mother about Marion's presence. Norman returns with a light meal and apologizes for his mother's outbursts.
                                Norman discusses his hobby as a taxidermist, his mother's "illness", and how people have a "private trap" they want to
                                escape. Marion decides to drive back to Phoenix in the moming and return the stolen money. As Marion showers, a
                                shadowy figure in a dress appears and stabs her to death. Soon afterward, Norman cleans up the murder scene, putting
                                Marion's body, belongings, and the hidden cash in her car, and sinks it in a swamp.
                                Marion's sister Lila arrives in Fairvale a week later, tells Sam about the theft, and demands to know her whereabouts. He




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                             1:22-cv-02088       invites her to dine with him.
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                                                                                                                   PageIDoverhears
                                                                                                                             #:279Norman arguing
                            with his mother about Marion's presence. Norman returns with a light meal and apologizes for his mother's outbursts.
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                            Marion's body, belongings, and the hidden cash in her car, and sinks it in a swamp.
                               Marion's sister Lila arrives in Fairvale a week later, tells Sam about the theft, and demands to know her whereabouts. He
                               denies knowing anything about her disappearance. A private investigator named Arbogast approaches them, saying that
                               he has been hired to retrieve the money. Arbogast stops at the Bates Motel and questions Norman, whose nervous
                               behavior and inconsistent answers arouse his suspicion. He examines the guest register and discovers from her
                               handwriting that Marion spent a night in the motel. When Arbogast learns that Marion had spoken to Norman's mother,
                               Arbogast asks to speak to her, but Norman refuses it. Arbogast updates Sam and Lila about his search and promises to
                               meet them within an hour at Sam's home. After he enters the Bates home to search for Norman's mother, the shadowy
                               figure emerges from the bedroom and stabs him to death.

                               Sam visits the motel when he and Lila hear nothing from Arbogast. He sees a figure in the house whom he assumes is
                               Norman's mother. Lila and Sam alert the local sheriff, who tells them Norman's mother died in a murder-suicide ten years
                               earlier. The sheriff suggests Arbogast lied to Sam and Lila so he could pursue Marion and the money. Convinced that
                               something happened to Arbogast, Lila and Sam drive to the motel. Sam distracts Norman in the office while Lila sneaks
                               into the house. Suspicious, Norman becomes agitated and knocks Sam unconscious. As he goes to the house, Lila hides
                               in the fruit cellar, where she discovers the mother's mummified body. She screams, and Norman, wearing women's
                               clothes and a wig, enters the cellar and tries to stab her. Sam appears and subdues him.

                               At the police station, a psychiatrist explains that Norman killed his mother and her lover ten years earlier out of jealousy.
                               Unable to bear the guilt, Norman mummified his mother's corpse and began treating it as if she was still alive. He
                               recreated his mother as an alternate personality, as jealous and possessive towards Norman as he felt about his mother.
                               When Norman is attracted to a woman, "Mother" takes over. He had killed two other missing young women before
                               Marion and Arbogast. The psychiatrist concludes that "Mother" has now submerged Norman's personality. Norman sits in
                               a jail cell and hears his mother saying the murders were all his doing. Marion's car is retrieved from the swamp.


                               Cast      [edit]
                                 e Anthony Perkins as Norman Bates
                                 e Janet Leigh as Marion Crane
                                 e John Gavin as Sam Loomis
                                 e Vera Miles as Lila Crane
                                 e Martin Balsam as Private Investigator Arbogast
                                 e John Mcintire as Deputy Sheriff Al Chambers
                                 e Simon Oakland as Dr. Richmond
                                 e Frank Albertson as Tom Cassidy
                                 e Pat Hitchcock as Caroline
                                 e Vaughn Taylor as George Lowery
                                 e Lurene Tuttle as Mrs. Chambers
                                 e John Anderson as California Charlie
                                 e Mort Mills as Highway Patrol Officer                                                Anthony Perkins’ performance as   ©
                                 a                                                              ;                      Norman Bates won him considerable
                               Virginia Gregg, Paul Jasmin, and Jeanette Nolan make uncredited appearances             critical praise.
                               as the voice of Norma "Mother" Bates. The three voices were used
                               interchangeably, except for the last speech, which was performed by Gregg_!'*!

                               Production           {edit}



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                                                                                                                                                a a
                                 e Mort Mills as Highway Patrol Officer                                                           Anthony Perkins’ performanceas    “
                                   _                     ;                                            ;                           Norman Bates won him considerable
                               Virginia Gregg,   Paul Jasmin, and Jeanette        Nolan make    uncredited appearances            critical praise.

                               as the voice of Norma "Mother" Bates. The three voices were used
                               interchangeably, except for the last speech, which was performed by Gregg.!"*!


                               Production           {edit}

                               Development [{ edit]
                               Psycho is based on Robert Bloch's 1959 novel of the same name, loosely inspired by the case of convicted Wisconsin
                               murderer and grave robber Ed Gein.!'®! Both Gein, who lived only 40 miles (64 km) from Bloch, and the story's
                               protagonist Norman Bates, were solitary murderers in isolated rural locations. Each had deceased, domineering mothers,
                               had sealed off a room in their home as a shrine to them, and dressed in women's clothes. Gein was apprehended after
                               killing only twice.!"7]
                               Peggy Robertson, Hitchcock's long-time assistant, read
                               Anthony Boucher's positive review of the novel in his
                               "Criminals at Large" column in The New York Times and
                               decided to show the book to her employer; however, studio
                               readers at Paramount Pictures had already rejected its
                               premise for a film.!"®! Hitchcock acquired rights to the novel
                               for $9,500!'®! and reportedly ordered Robertson to buy all
                               copies to preserve the novel's surprises.!'®! Hitchcock, who

                                  itical           dto hi                ki           terial t            Ford Custom 300 similar to that driven by Janet Leigh in the
                               critically compared    to his own, was seeking new material to             film, is now part of the studio tour at the Universal Studios
                               recover from two aborted      projects with Paramount:                     Hollywood theme park.

                               Flamingo Feather and No Bail for the Judge. He disliked
                               stars' salary demands and trusted only a few people to
                               choose prospective material, including Robertson.7°)
                               Paramount executives balked at Hitchcock's proposal and refused to provide his usual budget.!*"! In response, Hitchcock
                               offered to film Psycho quickly and cheaply in black and white using his Alfred Hitchcock Presents television series crew.
                               Paramount executives rejected this cost-conscious approach, claiming their sound stages were booked, but the industry
                               was in a slump. Hitchcock countered that he personally would finance the project and film it at Universal-International
                               using his Shamley Productions crew if Paramount would distribute. In lieu of his usual $250,000 director's fee, he
                               proposed a 60% stake in the film negative. This combined offer was accepted, and Hitchcock went ahead in spite of
                               naysaying from producer Herbert Coleman            and Shamley    Productions executive Joan        Harrison.   [22]


                               Screenplay [ edit}

                               James P. Cavanagh, a writer on Alfred Hitchcock Presents, wrote the first draft
                               of the screenplay.'2*! Hitchcock felt the script dragged and read like a television
                               short horror story,'*4] an assessment shared by an assistant.!**] Although Joseph
                               Stefano had worked on only one film before, Hitchcock agreed to meet with him;
                               despite Stefano's inexperience, the meeting went well and he was hired 23!
                               The screenplay is relatively faithful to the novel, with a few significant changes
                               by Hitchcock and Stefano. Stefano found the character of Norman Bates
                               unsympathetic—in the book, he is middle-aged, overweight, and more overtly         Studio Tour
                               unstable—but became more intrigued when Hitchcock suggested casting
                               Anthony Perkins.'*4] Stefano eliminated Bates' drinking,'*°! which evidently
                               necessitated removing Bates' "becoming" the mother personality when in a drunken stupor. Also gone is Bates’ interest in
                                                                           rman




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                      Case: despite Stefano's inexperience,
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                                                                meeting
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                                                                                            Page 6 of 32 PageID #:281
                               The screenplay is relatively faithful to the novel, with a few significant changes
                               by Hitchcock and Stefano. Stefano found the character of Norman Bates                           eran
                                              o                   a                       ;                             Replaying a scene at the Hollywood ~
                               unsympathetic—in the book, he is middle-aged, overweight, and more overtly               Studio Tour
                               unstable—but became more intrigued when Hitchcock suggested casting
                               Anthony Perkins.!*4! Stefano eliminated Bates’ drinking,!?°! which evidently
                               necessitated removing Bates' "becoming" the mother personality when in a drunken stupor. Also gone is Bates’ interest in
                               spiritualism, the occult and pornography.!7®! Hitchcock and Stefano elected to open the film with scenes in Marion's life
                               and not introduce Bates at all until 20 minutes into the film rather than open with Bates reading a history book as Bloch
                               does.!?5! writer Joseph W. Smith observes that "her story occupies only two of the novel's 17 chapters. Hitchcock and
                               Stefano expanded this to nearly half the narrative".°7] He likewise mentions the absence of a hotel tryst between Marion
                               and Sam in the novel. For Stefano, the conversation between Marion and Norman in the hotel parlor in which she
                               displays a maternal sympathy towards him makes it possible for the audience to switch their sympathies towards
                               Norman Bates after Marion's murder_?*! when Lila Crane is looking through Norman's room in the film, she opens a
                               book with a blank cover whose contents are unseen: in the novel, these are "pathologically pornographic" illustrations.
                               Stefano wanted to give the audience "indications that something was quite wrong, but it could not be spelled out or
                               overdone".7°! in his book of conversations with Hitchcock, Francois Truffaut says the novel "cheats" by having extended
                               conversations between Norman and "Mother" and stating what Mother is "doing" at various given moments.7°!
                               The first name of the female protagonist was changed from Mary to Marion because a real Mary Crane existed in
                               Phoenix." Also changed is the novel's budding romance between Sam and Lila. Hitchcock preferred to focus the
                               audience's attention on the solution to the mystery,?" and Stefano thought such a relationship would make Sam Loomis
                               seem cheap.        Instead of having Sam explain Norman's pathology to Lila, the film uses a psychiatrist.) Stefano was in
                               therapy dealing with his relationship with his own mother while writing the script.%7! The novel is more violent than the
                               film: Marion is beheaded in the shower rather than being stabbed to death.'**! Minor changes include changing Marion's
                               telltale earring found after her death to a scrap of paper that failed to flush down the toilet. This provided some shock
                               effect because toilets almost were never seen in American cinema in the 1960s.!°*! The location of Arbogast's death was
                               moved from the foyer to the stairwell. Stefano thought this would make it easier to conceal the truth about "Mother"
                               without tipping that something was being hidden.!5! As Janet Leigh put it, this gave Hitchcock more options for his
                               camera?!

                               Pre-production [ edit]

                               Paramount, whose contract guaranteed another film by Hitchcock, did not want Hitchcock to make Psycho. Paramount
                               was expecting Vo Bail for the Judge starring Audrey Hepburn, who became pregnant and had to bow out, leading
                               Hitchcock to scrap the production. Their official stance was that the book was "too repulsive" and "impossible for films”,
                               and nothing but another of his star-studded mystery thrillers would suffice.!"9!l5° They did not like "anything about it at
                               all" and denied him his usual budget.!'9!!5 |p response Hitchcock financed the film's creation through his own Shamley
                               Productions, shooting at Universal Studios under the Revue television unit.?"2"] The original Bates Motel and Bates
                               house set buildings, which were constructed on the same stage as Lon Chaney's The Phantom of the Opera, are still
                               standing at the Universal Studios backlot in Universal City near Hollywood and are a regular attraction on the studio's
                               tour.5l[59] As a further result of cost cutting, Hitchcock chose to film Psycho in black and white, keeping the budget
                               under $1 million.'°! Other reasons for shooting in black and white were his desire to prevent the shower scene from
                               being too gory.!44]
                               To keep costs down, and because he was most comfortable around them, Hitchcock took most of his crew from his
                               television series Alfred Hitchcock Presents, including the cinematographer, set designer, script supervisor, and first
                               assistant director.!47] He hired regular collaborators Bernard Herrmann as music composer, George Tomasini as editor,
                               and Saul Bass for the title design and storyboarding of the shower scene. In all, his crew cost $62,000. !*9!
                               Through the strength of his reputation, Hitchcock cast Leigh for a quarter of her usual fee, paying only $25,000 (in the
                               1967 book Hitchcock/Truffaut, Hitchcock said that Leigh owed Paramount one final film on her seven-year contract which
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                               being too gory.!*"
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                               To keep costs down, and because he was most comfortable around them, Hitchcock took most of his crew from his
                               television series Alfred Hitchcock Presents, including the cinematographer, set designer, script supervisor, and first
                               assistant director.'42] He hired regular collaborators Bernard Herrmann as music composer, George Tomasini as editor,
                               and Saul Bass for the title design and storyboarding of the shower scene. In all, his crew cost $62,000. [49
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                               1967 book Hitchcock/Truffaut, Hitchcock said that Leigh owed Paramount one final film on her seven-year contract which
                               she had signed in 1953).!*4! His first choice, Leigh agreed having only read the novel and making no inquiry into her
                               salary.2°! Her co-star, Anthony Perkins, agreed to $40,000.'**! Both stars were experienced and proven box-office
                               draws. 491
                               Paramount distributed the film, but four years later Hitchcock sold his stock in Shamley to Universal's parent company
                               (MCA) and his remaining six films were made at and distributed by Universal Pictures.”! After another four years,
                               Paramount sold all rights to Universal.97]

                               Filming      [edit]

                               The film, independently produced and financed by Hitchcock, was shot at Revue Studios,!**! the same location as his
                               television show. Psycho was shot on a tight budget of $807,000,   47! beginning on November 11, 1959, and ending on
                               February 1, 1960.'4°!l49! Filming started in the morning and finished by six p.m. or earlier on Thursdays (when Hitchcock
                               and his wife would dine at Chasen's).°! Nearly the whole film was shot with 50 mm lenses on 35 mm cameras. This
                               provided an angle of view similar to human vision, which helped to further involve the audience."
                               Before shooting began in November, Hitchcock dispatched assistant director Hilton A. Green to Phoenix to         scout
                               locations and shoot the opening scene. The shot was supposed to be an aerial shot of Phoenix that slowly         zoomed into
                               the hotel window of a passionate Marion and Sam. Ultimately, the helicopter footage proved too shaky and         had to be
                               spliced with footage from the studio.°2! Another crew filmed day and night footage on Highway 99 between          Gorman and
                               Fresno, California for projection when Marion drives from Phoenix. Footage of her driving into Bakersfield to trade her car
                               is also shown. They also provided the location shots for the scene in which she is discovered sleeping in her car by the
                               highway patrolman.2! in one street scene shot in downtown Phoenix, Christmas decorations were discovered to be
                               visible; rather than re-shoot the footage, Hitchcock chose to add a graphic to the opening scene marking the date as
                               "Friday, December the Eleventh"5°!
                               Green also took photos of a prepared list of 140 locations for later reconstruction in the studio. These included many real
                               estate offices and homes such as those belonging to Marion and her sister.°*! He also found a girl who looked just like
                               he imagined Marion and photographed her whole wardrobe, which would enable Hitchcock to demand realistic looks
                               from Helen Colvig, the wardrobe supervisor.°2! The look of the Bates house was modeled on Edward Hopper's painting
                               House by the Railroad,“ a fanciful portrait of the Second Empire Victorian home at 18 Conger Avenue in Haverstraw,
                               New York !°=]
                               Lead actors Perkins and Leigh were given freedom to interpret their roles and improvise as long as it did not involve
                               moving the camera.° An example of Perkins's improvisation is Norman's habit of eating candy corn.°"! Throughout
                               filming, Hitchcock created and hid various versions of the "Mother corpse" prop in Leigh's dressing room closet. Leigh
                               took the joke well, and she wondered whether it was done to keep her in suspense or to judge which corpse would be
                               scarier for the audience. °°!
                               Hitchcock was forced uncharacteristically to do retakes for some scenes. The final shot in the shower scene, which starts
                               with an extreme close-up on Marion's eye and zooms in and out, proved difficult for Leigh because the water splashing in
                               her eyes made her want to blink, and the cameraman had trouble as well because he had to manually focus while
                               moving the camera.!®] Retakes were required for the opening scene because Hitchcock felt that Leigh and Gavin were
                               not passionate enough.'9! Leigh had trouble saying "Not inordinately" for the real estate office scene, requiring additional
                               retakes.!©°) Lastly, the scene in which "Mother" is discovered required complicated coordination of the chair turning
                               around, Vera Miles (as Lila Crane) hitting the light bulb, and a lens flare, which proved to be difficult. Hitchcock forced
                               retakes until all three elements were effected to his satisfaction.°"



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                               around, Vera Miles (as Lila Crane) hitting the light bulb, and a lens flare, which proved to be difficult. Hitchcock forced
                               retakes until all three elements were effected to his satisfaction."
                               According to Hitchcock, a series of shots with Arbogast going up the stairs in the Bates house before he is stabbed were
                               done by assistant director Hilton A. Green, working with storyboard artist Saul Bass's drawings only while Hitchcock was
                               incapacitated with the common cold. However, upon viewing the dailies of the shots, Hitchcock was forced to scrap them.
                               He claimed they were "no good" because they did not portray "an innocent person but a sinister man who was going up
                               those stairs" ©! Hitchcock later re-shot the scene, though a little of the cut footage made its way into the film. Filming the
                               murder of Arbogast proved problematic, owing to the overhead camera angle necessary to hide the film's twist. A camera
                               track constructed on pulleys alongside the stairway together with a chairlike device had to be constructed and thoroughly
                               tested over a period of weeks. {1
                               Alfred Hitchcock's cameo is a signature occurrence in most of his films. In Psycho, he can be seen through a window—
                               wearing a Stetson hat—standing outside Marion Crane's office.!**] wardrobe mistress Rita Riggs has said that Hitchcock
                               chose this scene for his cameo so that he could be in a scene with his daughter, who played one of Marion's colleagues.
                               Others have suggested that he chose this early appearance in the film in order to avoid distracting the audience.!°*!

                               Shower scene           [edit]

                               The murder of Leigh's character in the shower is the film's pivotal scene and one of the best-known in all of cinema.*!
                               As such, it spawned numerous myths and legends. It was shot from December 17-23, 1959, after Leigh had twice
                               postponed the filming, first because of a cold and then because of her period.'®”! The finished scene runs some three
                               minutes, and its flurry of action and edits has produced contradictory attempts to count its parts. Hitchcock himself
                               contributed to this pattern, telling Truffaut that "there were seventy camera setups for forty-five seconds of footage",!©2!
                               and maintaining to other interviewers that there were "seventy-eight pieces of film".©*! The 2017 documentary 78/52:
                               Hitchcock's Shower Scene, by director Alexandre ©. Philippe, latches onto this last figure for the production's tagline, '78
                               Shots & 52 Cuts That Changed Cinema Forever!°°! But in his careful description of the shower scene, film scholar Philip
                               J. Skerry counted only 60 separate shots, with a table breaking down the middle 34 by type, camera position, angle,
                               movement, focus, POV, and subject.!”°! Absent an alternative tabulation, Richard Schickel and Frank Capra, in their 2001
                               book The Men Who Made the Movies, concluded the most reasonable calculation was 60. Many are close-ups, including
                               extreme close-ups, except for medium shots in the shower directly before and directly after the murder. The combination
                               of the close shots with their short duration makes the sequence feel more subjective than if the images were presented
                               alone or in a wider angle, an example of the technique Hitchcock described as "transferring the menace from the screen
                               into the mind of the audience"   !”")
                                                                         To capture the straight-on shot of the shower head, the camera had to be
                                                                         equipped with a long lens. The inner holes on the shower head were blocked
                                                                         and the camera placed a sufficient distance away so that the water, while
                                                                         appearing to be aimed directly at the lens, actually went around and past it.!72!
                                                                         The soundtrack of screeching violins, violas, and cellos was an original all-
                                                                      strings piece by composer Bernard Herrmann titled "The Murder". Hitchcock
                                The shadowy figure from the        s
                                shower scene
                                                                      originally intended to have no music for the sequence (and all motel scenes),!7°!
                                                                      but Herrmann insisted he try his composition. Afterward, Hitchcock agreed it
                                                                      vastly intensified the scene, and nearly doubled Herrmann's salary.!741(79Il75l The
                               blood in the scene was Hershey's chocolate syrup,!””] which shows up better on black-and-white film, and has more
                               realistic density than stage blood.!’®! The sound of the knife entering flesh was created by plunging a knife into a casaba
                               melon 791180)



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                               T=...                                      The soundtrack of screeching violins, violas, and cellos was an original all-
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                                                       stringsFiled:
                                                               piece by10/07/22
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                                                                                  Bernard 9Herrmann
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                                                                                                    titled "The#:284
                                                                                                                Murder". Hitchcock
                                The shadowy figure from the        i
                                                                          originally intended to have no music for the sequence      (and all motel scenes), !73]
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                               realistic density than stage blood.!”*! The sound of the knife entering flesh was created by plunging a knife into a casaba
                               melon _[791[80]
                               There are varying accounts whether Leigh was in the shower the entire time or a body double was used for some parts
                               of the murder sequence and its aftermath. In an interview with Roger Ebert and, in the book by Stephen Rebello, Alfred
                               Hitchcock and the Making of Psycho, Leigh stated she appeared in the scene the entire time and Hitchcock used a
                               stand-in only for the sequence in which Norman wraps Marion's body in a shower curtain and places it in the trunk of her
                               car!8"] The 2010 book The Girl in Alfred Hitchcock's Shower by Robert Graysmith and the documentary 78/52:
                               Hitchcock's Shower Scene contradicts this, identifying Marli Renfro as Leigh's body double for some of the shower
                               scene's shots.!77Il82] Graysmith also stated that Hitchcock later acknowledged Renfro's participation in the scene.'**! Rita
                               Riggs, who was in charge of the wardrobe, claims it was Leigh in the shower the entire time, explaining that Leigh did not
                               wish to be nude and so she devised strategic items including pasties, moleskin, and bodystockings, to be pasted on
                               Leigh for the scene.'*4! Riggs and Leigh went through strip tease magazines that showed all the different costumes, but
                               none of them worked because they all had tassels on them.

                                      As you know, you could not take the camera and just show a nude woman, it had to be done
                                      impressionistically. So, it was done with little pieces of film, the head, the feet, the hand, etc. In that scene
                                      there were 78 pieces of film in about 45 seconds. !°!

                               A popular myth emerged that ice-cold water was used in the shower scene to make Leigh's scream realistic. Leigh
                               denied this on numerous occasions, saying the crew was accommodating, using hot water throughout the week-long
                               shoot.      ll of the screams are Leigh’s.''*! Another myth was that graphic designer Saul Bass directed the shower
                               scene. This was denied by several figures associated with the film, including Leigh, who stated: "Absolutely not! | have
                               emphatically said this in any interview I've ever given. I've said it to his face in front of other people ... | was in that
                               shower for seven days, and, believe me, Alfred Hitchcock was right next to his camera for every one of those seventy-
                               odd shots" {°7) Hilton A. Green, the assistant director, also rebuts Bass's claim: "There is not a shot in that movie that |
                               didn't roll the camera for. And | can tell you | never rolled the camera for Mr. Bass"{°7) Roger Ebert, a longtime admirer of
                               Hitchcock's work, summarily dismissed the rumor: "It seems unlikely that a perfectionist with an ego like Hitchcock's
                               would let someone else direct such a scene" !!
                               Commentators such as Stephen Rebello and Bill Krohn have argued in favor of Bass's contribution to the scene in his
                               capacity as visual consultant and storyboard artist.!°9! Along with designing the opening credits, Bass is termed "Pictorial
                               Consultant” in the credits. When interviewing Hitchcock in 1967, Francois Truffaut asked about the extent of Bass's
                               contribution, to which Hitchcock replied that in addition to the titles, Bass had provided storyboards for the Arbogast
                               murder (which he claimed to have rejected), but made no mention of Bass's having provided storyboards for the shower
                               scene.
                               According to Bill Krohn's Hitchcock At Work, Bass's first claim to have directed the scene was in 1970, when he provided
                               a magazine with 48 drawings used as storyboards as proof of his contribution.") Krohn's analysis of the production,
                               while rebutting Bass's claims for having directed the scene, notes that these storyboards did introduce key aspects of the
                               final scene—most notably, the fact that the killer appears as a silhouette, and details such as the close-ups of the
                               slashing knife, Leigh's desperate outstretched arm, the shower curtain being torn off its hooks, and the transition from the
                               drain to Marion Crane's dead eye. Krohn notes that this final transition is highly reminiscent of the iris titles that Bass
                               created for Vertigo.!°"] Krohn also notes that Hitchcock shot the scene with two cameras: one a BNC Mitchell, the other a
                               handheld French Eciair camera which Orson Welles had used in Touch of Evil (1958). In order to create an ideal
                               montage for the greatest emotional impact on the audience, Hitchcock shot a lot of footage of this scene which he
                               trimmed down in the editing room. He even brought a Moviola on the set to gauge the footage required. The final



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                                                                   the killer appears
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                                                                                                           of 32such as the #:285
                                                                                                                  PageID    close-ups of the
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                               trimmed down in the editing room. He even brought a Moviola on the set to gauge the footage required. The final
                               sequence, which his editor George Tomasini worked on with Hitchcock's advice, however did not go far beyond the basic
                               structural elements set up by Bass's storyboards.!9")
                               According to Donald Spoto in The Dark Side of Genius and to Stephen Rebello in Alfred Hitchcock and the Making of
                               Psycho, Hitchcock's wife and trusted collaborator, Alma Reville, spotted a blooper in one of the last edits of Psycho
                               before its official release: after Marion was supposedly dead, one could see her blink. According to Patricia Hitchcock,
                               talking in Laurent Bouzereau's "making of" documentary, Alma spotted that Leigh's character appeared to take a breath.
                               In either case, the postmortem activity was edited out and was never seen by audiences.) Although Marion's eyes
                               should be dilated after her death, the contact lenses necessary for this effect would have required six weeks of
                               acclimation to wear them, so Hitchcock decided to forgo them.!92!
                               It is often claimed that, despite its graphic nature, the shower scene never once shows a knife puncturing flesh. 93119411951
                               However, a frame by frame analysis of the sequence shows one shot in which the knife appears to penetrate Leigh's
                               abdomen, but the effect was created by lighting and reverse motion.!®ll"”! Leigh herself was so affected by this scene
                               when she saw it, that she no longer took showers unless she absolutely had to; she would lock all the doors and
                               windows and would leave the bathroom and shower door open.!9”! She never realized until she first watched the film
                               "how vulnerable and defenseless one is" [77
                               Before production,           Leigh and             Hitchcock fully discussed what the scene meant:


                                        Marion had decided to go back to Phoenix, come clean, and take the consequence, so when she stepped
                                        into the bathtub it was as if she were stepping into the baptismal waters. The spray beating down on her
                                        was purifying the corruption from her mind, purging the evil from her soul. She was like a virgin again,
                                        tranquil, at peace. [7]

                               Film theorist Robin Wood also discusses how the shower washes "away her guilt". He comments upon the "alienation
                               effect" of killing off the "apparent center of the film" with which spectators had identified.'°*! The scene was the subject of
                               Alexandre O. Philippe's 2017 documentary 78/52: Hitchcock's Shower Scene, the title of which references the putative
                               number of cuts and set-ups, respectively, that Hitchcock used to shoot it. 991100]

                               Soundtrack                       [esit)
                               Score           [edit]
                               Hitchcock insisted that Bernard Herrmann write the score for Psycho despite the composer's refusal to accept a reduced
                               fee for the film's lower budget.!'°") The resulting score, according to Christopher Palmer in The Composer in Hollywood
                               (1990) is "perhaps Herrmann's most spectacular Hitchcock achievement"        !"°2! Hitchcock was pleased with the tension
                               and drama the score added to the film,!"°7) later remarking "33% of the effect of Psycho was due to the music"!'°4! and
                               that "Psycho depended heavily on Herrmann's music for its tension and sense of pervading doom" {1951
                               Herrmann used the lowered music budget to his advantage by writing for a string orchestra rather than a full symphonic
                               ensemble,!'°'l contrary to Hitchcock's request for a jazz score.!'°®! He thought of the single tone color of the all-string
                               soundtrack as a way of reflecting the black-and-white cinematography of the film.!'°7 The strings play con sordini
                               (muted) for all the music other than the shower scene, creating a darker and more intense effect. Film composer Fred
                               Steiner, in an analysis of the score to Psycho, points out that string instruments gave Herrmann access to a wider range
                               in tone, dynamics, and instrumental special effects than any other single instrumental group would have_!'°1
                               WFR.   we ete   ADB   weet ete     =   fee   ewe   fe eee ee   wt eee   oe oka   Ahem   bee ew   o£   fee
                                                                                                                                      oe Bee   2 ede   wee   ee el   eek   eee   She ww ee   Bae ee   oe   Abe




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                               that "Psycho depended heavily on Herrmann's music for its tension and sense of pervading doom" !'"°!
                     Case: 1:22-cv-02088 Document #: 28-9 Filed: 10/07/22 Page 11 of 32 PageID #:286
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                               Steiner, in an analysis of the score to Psycho, points out that string instruments gave Herrmann access to a wider range
                               in tone, dynamics, and instrumental special effects than any other single instrumental group would have_!1°%
                               The main title music, a tense, hurtling piece, sets the tone of impending violence, and returns three times on the
                               soundtrack.!1°9I("19] Though nothing shocking occurs during the first 15-20 minutes of the film, the title music remains in
                               the audience's mind, lending tension to these early scenes.!'°°! Herrmann also maintains tension through the slower
                               moments in the film through the use of ostinato.!1°4!
                               There were rumors that Herrmann had used electronic means, including amplified bird screeches to achieve the
                               shocking effect of the music in the shower scene. The effect was achieved, however, only with violins in a "screeching,
                               stabbing sound-motion of extraordinary viciousness".!'"" The only electronic amplification employed was in the placing of
                               the microphones close to the instruments, to get a harsher sound.!'''] Besides the emotional impact, the shower scene
                               cue ties the soundtrack to birds.!'""! The association of the shower scene music with birds also telegraphs to the
                               audience that it is Norman, the stuffed-bird collector, who is the murderer rather than his mother!"
                               Herrmann biographer Steven C. Smith writes that the music for the shower scene is "probably the most famous (and
                               most imitated) cue in film music”,!"°7! put Hitchcock was originally opposed to having music in this scene.!"""] When
                               Herrmann played the shower scene cue for Hitchcock, the director approved its use in the film. Herrmann reminded
                               Hitchcock of his instructions not to score this scene, to which Hitchcock replied: "Improper suggestion, my boy, improper
                               suggestion" '"'2] This was one of two important disagreements Hitchcock had with Herrmann, in which Herrmann ignored
                               Hitchcock's instructions. The second one, over the score for Torn Curtain (1966), resulted in the end of their professional
                               collaboration.'"'?] A survey conducted by PRS for Music, in 2009, showed that the British public consider the score from
                               ‘the shower scene’ to be the scariest theme from any film.!""4!
                               To honor the fiftieth anniversary of   Psycho, in July 2010, the San Francisco Symphony!''*! obtained a print of the film
                               with the soundtrack removed, and       projected it on a large screen in Davies Symphony Hall while the orchestra performed
                               the score live. This was previously    mounted by the Seattle Symphony in October 2009 as well, performing at the
                               Benaroya Hall for two consecutive      evenings.

                               Recordings               [edit]

                               Several CDs of the film score have been released, including:

                                 e The October 2, 1975 recording with Bernard Herrmann conducting the National Philharmonic Orchestra [Unicorn CD,
                                   1993} (1181
                                 e The 1997 Varése Sarabande CD features a re-recording of the complete score performed by the Royal Scottish
                                   National Orchestra and conducted by Joel McNeely.!1171["18]
                                 e The 1998 Soundstage Records SCD 585 CD claims to feature the tracks from the original master tapes, but it has
                                   been asserted that the release is a bootleg recording {117
                                 e The 2011 Doxy Records DOY650 (Italy) 180 gram LP release of the complete original score conducted by Herrmann.
                               Cue list
                                 No.   Title                                                                                                       Length
                                       "Prelude"
                                 a




                                       "The City”
                                       "Marion"
                                 PON




                                       "Marion & Sam”
                                       "Temptation"
                                 10




                                       "Flight"
                                       MM aAteanl   Marell




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                                 No.                                           Title                                                  Length
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                                              =
                                                                               "The City"




                                                      FF ON
                                                                               "Marion"




                                              Co BNA
                                                                               "Marion & Sam"
                                                                               "Temptation"




                                                   aA
                                                                               "Flight"
                                                                               "Patrol Car"
                                                                               "The Car Lot"
                                                                               "The Package"
                                                                               "The Rainstorm"
                                                Oo




                                                                       . "Hotel Room"
                                  —_
                                  —-




                                                                               "The Window"
                                 SOORNHRHEOSONHNASHSCHANAAKHSNASSCHANHHARESL




                                                                               "The Parlor"
                                 SF




                                                                               "The Madhouse"
                                 FSF




                                                                               "The Peephole"
                                 FHF




                                                                               "The Bathroom"
                                 FSF




                                                                               "The Murder"
                                 HF




                                                                               "The Body"
                                 FSF




                                                                               "The Office"
                                 H-=




                                                                               "The Curtain"
                                 NY




                                                                       .       "The Water"
                                 NY




                                                                       . “The Car"
                                 NHB




                                                                       . "Cleanup" (Unused in film)
                                 HB




                                                                               "The Swamp"
                                 NY




                                                                       . "The Search"
                                 NY




                                                                               "The Shadow"
                                 DY




                                                                       . “Phone Booth"
                                 DY




                                                                               "The Porch"
                                 NY




                                                                               "The Stairs”
                                 WwWWwWwWNH




                                                                               "The Knife"
                                                                       . "The Search (B)"
                                                                       . “The First Floor"
                                                                       .       "Cabin 10"
                                 WwW




                                                                       . "Cabin 1"
                                                                       .       “The Hill"
                                 WwW




                                                                               "The Bedroom"
                                 WO




                                                                       . “The Toys"
                                 WO




                                                                               "The Cellar"
                                 WO




                                                                       . "Discovery"
                                 Oo




                                                                               "Finale"
                                 S&S




                               Censorship and taboos                                                  [edit]
                               Psycho is a prime example of the type of film that appeared in the United States
                               during the 1960s after the erosion of the Production Code. It was unprecedented
                                                                                                                         IT IS REQUIRED
                               in its depiction of sexuality and violence, right from the opening scene in which   A >       THAT YOU SEE




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                                  39.   "Discovery"
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                             40. "Finale"
                                          Document #: 28-9 Filed: 10/07/22 Page 13 of 32 PageID #:288


                               Censorship and taboos                     {esit]
                               Psycho is a prime example of the type of film that appeared in the United States
                               during the 1960s after the erosion of the Production Code. It was unprecedented
                                                                                                                                           (ae        IT IS REQUIRED
                               in its depiction of sexuality and violence, right from the opening scene in which                           nae              THAT YOU SEE
                               Sam and Marion are shown as lovers sharing the same bed, with Marion in a
                               bra'''! in the Production Code standards of that time, unmarried couples                                     =
                               shown in; the same bed would have been taboo. [120]                                                            =   @-      GeerFROM
                                                                                                                                                                ata THE
                                                                                                                                                                     nies
                               Another issue was the gender nonconformity. Perkins, who was allegedly a                                           _
                               homosexual,'?"] and Hitchcock, who previously made Rope, were both
                               experienced in the film's transgressive subject matter. The viewer is unaware of
                               Bates' crossdressing until, at the end of the film, it is revealed during the
                               attempted murder of Lila. At the station, Sam asks why Bates was dressed that
                               way. The police officer, ignorant of Bates' split personality, announces his
                               conclusion that Bates is a transvestite. The psychiatrist corrects him and
                               explains that Bates believes that he is his own mother when he dresses in her
                               clothes [1221
                                                                                                                                    Hitchcock enforced a "no late             a
                               According to Stephen Rebello's 1990 book Ajfred Hitchcock and the Making of                          admission” policy during the theatrical
                               Psycho, the censors in charge of enforcing the Production Code wrangled with           ee Psycho, which was unusual
                                                                                                                       or  the time.
                               Hitchcock because some of them insisted they could see one of Leigh's breasts.
                               Hitchcock held onto the print for several days, left it untouched, and resubmitted
                               it for approval. Each of the censors reversed their positions: those who had previously seen the breast now did not, and
                               those who had not, now did. They passed the film after the director removed one shot that showed the buttocks of
                               Leigh's stand-in.''29] The board was also upset by the racy opening, so Hitchcock said that if they let him keep the
                               shower scene he would re-shoot the opening with them on the set. Because board members did not show up for the re-
                               shoot, the opening stayed.!'27)
                               Another cause of concern for the censors was that Marion was shown flushing a toilet, with its contents (torn-up note
                                                                                                   film and television in the United States at that
                               paper) fully visible. No flushing toilet had appeared in mainstream
                               time [1241[125][126}
                               Internationally, Hitchcock was forced to make minor changes to the film, mostly to the shower scene. In Britain, the BBFC
                               required cuts to stabbing sounds and visible nude shots, and in New Zealand the shot of Norman washing blood from his
                               hands was seen as disgusting. In Singapore, though the shower scene was left untouched, the murder of Arbogast and a
                               shot of Norman's mother's corpse were removed.!'?71 in Ireland, the censor Gerry O'Hara banned it upon his initial
                               viewing in 1960. The next year, a highly edited version missing some 47 feet of film was submitted to the Irish censor.
                               O'Hara ultimately requested that an additional seven cuts be made: the line where Marion tells Sam to put his shoes on
                               (which implied that he earlier had his pants or trousers off), two shots of Norman spying on Marion through the keyhole,
                               Marion's undressing, the shots of Marion's blood flowing down the shower, the shots of Norman washing his hands when
                               blood is visible, incidents of multiple stabbings ("One stab is surely enough", wrote O'Hara), the words "in bed" from the
                               sheriffs wife's line, "Norman found them dead together in bed", and Arbogast's questions to Norman about whether he
                               spent the night with Marion.!'®! in 1986, the uncut version of Psycho was accepted by the BBFC, who classified it at
                               45 (129)


                               Release        [edit]
                               The film was released on June 16, 1960, at the DeMille Theatre and the Baronet Theatre in New York City.I['5° it was
                               the first film sold in the US on the basis that no one would be admitted to the theater after the film had started
                                                                                                                                              [19 1[192]
                               Hitchcock's   "nn   late admission"   nolicy for the film was   tiniciual for the time   It was   not an entirely orininal   nithlicitv




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                           spent the night with Document
                     Case: 1:22-cv-02088        Marion.(128) In #:
                                                                1986, the Filed:
                                                                   28-9   uncut version of Psycho
                                                                                  10/07/22        was 14
                                                                                               Page   accepted
                                                                                                          of 32byPageID
                                                                                                                  the BBFC, #:289
                                                                                                                             who classified it at
                           45,129]


                               Release          [edit]
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                               the first film sold in the US on the basis that no one would be admitted to the theater after the film had starteg.{121I"921
                               Hitchcock's "no late admission" policy for the film was unusual for the time. It was not an entirely original publicity
                               strategy as Clouzot had done the same in France for Les Diaboliques (1955).!'?9! Hitchcock believed people who
                               entered the theater late and thus never saw the appearance of star actress Janet Leigh would feel cheated." at first
                               theater owners opposed the idea, thinking they would lose business. However, after the first day, the owners enjoyed
                               long lines of people waiting to see the film.°7 Shortly before the release of Psycho, Hitchcock promised a film in "the
                               Diabolique manner".!134]
                               The week after the New York premiere, the film opened at the Paramount Theatre, Boston; the Woods Theatre, Chicago
                               and the Arcadia Theatre, Philadelphia.''?*! After nine weeks of release at the DeMille and the Baronet, the film was
                               released in neighborhood New York theaters, the first time a film had played on Broadway and the neighborhood theaters
                               simultaneously. 192)

                               Promotion | edit}
                                                                            Hitchcock did most of the promotion himself, forbidding Leigh and Perkins to
                                                                            make the usual television, radio, and print interviews for fear of them revealing
                                                                            the plot.!'5® Even critics were not given private screenings but rather had to see
                                                                            the film with the general public, which may have affected their reviews.!27]
                                                                      The film's original trailer features a jovial Hitchcock taking the viewer on a tour of
                                                                      the set, and almost giving away plot details before stopping himself. It is
                                                                      "tracked" with Herrmann's Psycho theme, but also jovial music from Hitchcock's
                                Original trailer for Psycho    &)     comedy The Trouble with Harry, most of Hitchcock's dialogue is post-
                                                                      synchronized. The trailer was made after completion of the film, and because
                                                                      Janet Leigh was no longer available for filming, Hitchcock had Vera Miles don a
                               blonde wig and scream loudly as he pulled the shower curtain back in the bathroom sequence of the preview. Because
                               the title Psycho instantly covers most of the screen, the switch went unnoticed by audiences for years. However, a
                               freeze-frame analysis clearly reveals that it is Miles and not Leigh in the shower during the trailer.°71

                               Rating       [edit]

                               Psycho has been rated and re-rated several times over the years by the MPAA. Upon its initial release, the film received
                               a certificate stating that it was "Approved" (certificate #19564) under the simple pass/fail system of the Production Code
                               in use at that time. Later, when the MPAA switched to a voluntary letter ratings system in 1968, Psycho was one of a
                               number of high-profile motion pictures to be retro-rated with an "M" (Suggested for mature audiences: Parental discretion
                               advised). This remained the only rating the film would receive for 16 years, and according to the guidelines of the time
                               "M" was the equivalent of a "PG" rating.!197Il"3®] jn 1984, amidst a controversy surrounding the levels of violence
                               depicted in "PG"-rated films in the VCR era, the film was re-classified to its current rating of "R" {1371138

                               Re-release [ edit]

                               The film had another successful theatrical reissue in 1969.

                               The film was re-released to cinemas on September 20 and 23, 2015, as part of the "TCM Presents” series by Turner
                               Classic Movies and Fathom Events !1991

                               Television          [edit]




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                           Re-release [ edit]Document #: 28-9 Filed: 10/07/22 Page 15 of 32 PageID #:290
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                               The film had another successful theatrical reissue in 1969.

                               The film was re-released to cinemas on September 20 and 23, 2015, as part of the "TCM                         Presents” series by Turner

                               Classic Movies and Fathom Events _!1991

                               Television          | edit}

                               CBS purchased the television rights for $450,000. CBS planned to televise the film on September 23, 1966, as an
                               installment of its new movie night The CBS Friday Night Movies.''*°) Three days prior to the scheduled telecast, Valerie
                               Percy, daughter of Illinois senate candidate Charles H. Percy, was murdered. As her parents slept mere feet away, she
                               was stabbed a dozen times with a double-edged knife. In light of the murder, CBS agreed to postpone the broadcast. As
                               a result of the Apollo 1 fire on January 27, 1967, the network washed its hands of Psycho.!"41
                               Shortly afterward Paramount included the film in its first syndicated package of post-1950 movies, "Portfolio I". WABC-TV
                               in New York City was the first station in the country to air Psycho (with some scenes significantly edited), on its late-night
                               movie series, The Best of Broadway, on June 24, 1967.!'42]
                               The film finally made its way to general television broadcast in one of Universal's syndicated programming packages for
                               local stations in 1970. Psycho was aired for 20 years in this format, then leased to cable for two years before returning to
                               syndication as part of the "List of a Lifetime" package.!'41)

                               Home media [| edit}

                               The film has been released several times on VHS, LaserDisc, DVD and Blu-ray. DiscoVision first released Psycho on the
                               LaserDisc format in "standard play" (5 sides) in 1979, and "extended play" (2 sides) in October 1981. MCA/Universal
                               Home Video released a new LaserDisc version of Psycho in August 1988 (Catalog                           #: 11003). In May 1998, Universal
                               Studios Home Video released a deluxe edition of Psycho as part of their Signature                       Collection. This THX-certified
                               Widescreen (1.85:1) LaserDisc Deluxe Edition (Catalog #: 43105) is spread across                         4 extended play sides and 1 standard
                               play side, and includes a new documentary and isolated Bernard Herrmann score.                          A DVD edition was released at the
                               same time as the LaserDisc.!"4°I
                               A version of the film with extended footage of Marion undressing (Showing her taking off her bra), Norman cleaning up
                               after the murder, and Arbogast's death (in which he is stabbed four times instead of two) has been shown on German TV,
                               and was released there on Blu-ray in 2015.!"*4II'45] This footage had been cut from the US version of the film in 1968
                               before the re-release of the movie after the ratings system was first established by the MPAA: these cuts were mandated
                               by the National Legion of Decency.“
                               For the DVD release, Laurent Bouzereau produced a documentary looking at the film's production and reception.
                               Universal released a 50th anniversary edition on Blu-ray in the United Kingdom on August 9, 2010,!'*6! with Australia
                               making the same edition (with a different cover) available on September 1.!'47] To mark the film's 50th anniversary, a Blu-
                               ray in the U.S. was released on October 19, 2010, featuring yet another cover!'*®! The film is also included on two
                               different Alfred Hitchcock Blu-ray box-sets from Universal.!"491i19°)
                               The film was released on 4K UHD                  Blu-Ray as part of The Alfred Hitchcock Classics Collection in September 2020,        along

                               with an individual "60th anniversary" Blu-Ray release as well. This release includes the extended footage from the
                               German release, making it the first time that these scenes were presented to US audiences as Hitchcock intended.!'9"]


                               Reception              [edit}

                               Critical reception [ edit}
                               Initial reviews of the film were mixed.!92! Bosley Crowther of The New York
                               Times wrote: "There is not an abundance of subtlety or the lately familiar
                               Hitchcock bent toward significant and colorful scenery in this obviously low-
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                           Reception [edit}

                               Critical reception [| edit}
                               Initial reviews of the film were mixed.!'92] Bosley Crowther of The New York
                               Times wrote: "There is not an abundance of subtlety or the lately familiar
                               Hitchcock bent toward significant and colorful scenery in this obviously low-
                               budget job". Crowther called the "slow buildups to sudden shocks" reliably
                               melodramatic but contested Hitchcock's psychological points, reminiscent of
                               Krafft-Ebing's studies, as less effective. While the film did not conclude
                               satisfactorily for the critic, he commended the cast's performances as "fair".{']
                               British critic C. A. Lejeune was so offended that she not only walked out before
                                                                                                                       Janet Leigh (pictured in 1955)         i
                               the end but permanently resigned her post as film critic for The Observer.'"°9)         received an Oscar nomination and won
                               Other negative reviews stated, "a blot on an honorable career", "plainly a              a Golden Globe for her performance in
                               gimmick movie", and "merely one of those television shows padded out to two             the film.
                               hours” !152II154] The Catholic Legion of Decency gave the film a B rating,
                               meaning "morally objectionable in part" {19°
                               Critics from the New York Daily News, New York Daily Mirror, and The Village Voice were positive, writing, "Anthony
                               Perkins’ performance is the best of his career ... Janet Leigh has never been better’, "played out beautifully", and "first
                               American movie since Touch of Evil to stand in the same creative rank as the great European films", respectively [192![15°
                               A mixed review from the New York Herald Tribune's review stated it was "rather difficult to be amused at the forms
                               insanity may take ... Keeps your attention like a snake-charmer".!'*2] The film ranked 9th on Cahiers du Cinéma's Top 10
                               Films of the Year List in 1960.!197]
                               In the United Kingdom, the film broke attendance records at the London Plaza Cinema, but nearly all British film critics
                               gave it poor reviews, questioning Hitchcock's taste and judgment and calling it his worst film ever!'®! Reasons cited for
                               this were the lack of preview screenings; the fact that they had to turn up at a set time as they wouldn't be admitted after
                               the film had started: their dislike of the gimmicky promotion; and Hitchcock's expatriate status [159Il15°
                               Critics later reassessed the film far more positively. Time magazine switched its opinion from "Hitchcock bears down too
                               heavily in this one" to "superlative" and "masterly", and Bosley Crowther changed his initial opinion and included it in his
                               Top Ten list of 1960,!'59! deeming it a "bold psychological mystery picture... [I]t represented expert and sophisticated
                               command of emotional development with cinematic techniques”       [16°
                               Psycho was criticized for causing other filmmakers to show gory content; three years later, Blood Feast, considered to be
                               the first "splatter film", was released.!'®") Inspired by Psycho, Hammer Film Productions launched a series of mystery
                               thrillers including The Nanny''®2! (1965) starring Bette Davis and William Castle's Homicidal (1961) was followed by a
                               slew of more than thirteen other splatter films.[1°"
                               On the review aggregator website Rotten Tomatoes, Psycho has an approval rating of 96% based on 108 reviews, with
                               an average score of 9.20/10. The site's critical consensus reads: "Infamous for its shower scene, but immortal for its
                               contribution to the horror genre. Because Psycho was filmed with tact, grace, and art, Hitchcock didn't just create modern
                               horror, he validated it"'"®?] On Metacritic, the film has a weighted average score of 97 out of 100 based on 17 critics,
                               indicating "universal acclaim".!"®4! in his 1998 review of Psycho film critic Roger Ebert summarised the film's enduring
                               appeal, writing:

                                       What makes Psycho immortal, when so many films are already half-forgotten as we leave the theater, is that
                                       it connects directly with our fears: Our fears that we might impulsively commit a crime, our fears of the
                                       police, our fears of becoming the victim of a madman, and of course our fears of disappointing our
                                      mothers. !1651

                               Box office [ edit}
                                                                                                                                     rar




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                                      What makes Psycho immortal, when so many films are already half-forgotten as we leave the theater, is that
                                      it connects directly with our fears: Our fears that we might impulsively commit a crime, our fears of the
                                      police, our fears of becoming the victim of a madman, and of course our fears of disappointing our
                                      mothers.!165]


                               Box office [{ edit]

                               In its opening week, Psycho grossed $46,500 at the DeMille and a record $19,500 at the Baronet.!'95! Following its
                               expansion the following week, it grossed $143,000 from 5 theaters.!'95I['66]
                               Psycho broke box-office records in Japan and the rest of Asia, France, Britain, South America, the United States, and
                               Canada, and was a moderate success in Australia for a brief period.{192!
                               It went on to become the second highest-grossing film of 1960, behind Spartacus,!'®”! earning a box office gross of
                               $32 million,!"®*! which generated approximately $9.1 million in North American theatrical rentals.!'®°!
                               Psycho remains the most commercially successful film of Hitchcock's career.!'®”] Hitchcock personally earned in excess
                               of $15 million from Psycho. He then swapped his rights to Psycho and his TV anthology for 150,000 shares of MCA,
                               making him the third largest shareholder in MCA Inc., and his own boss at Universal, in theory; this did not stop them
                               from interfering with his later films.{17°171]

                               Themes and style                 [edit]

                               Subversion of romance through irony [ edit}
                               In Psycho, Hitchcock subverts the romantic elements that are seen in most of his work. The film is instead ironic as it
                               presents "clarity and fulfillment" of romance. The past is central to the film; the main characters "struggle to understand
                               and resolve destructive personal histories" and ultimately fail.'"72) Lesley Brill writes: "The inexorable forces of past sins
                               and mistakes crush hopes for regeneration and present happiness". The crushed hope is highlighted by the death of the
                               protagonist, Marion Crane, halfway through the film.!"”*! Marion is like Persephone of Greek mythology, who is abducted
                               temporarily from the world of the living. The myth does not sustain with Marion, who dies hopelessly in her room at the
                               Bates Motel. The room is wallpapered with floral print like Persephone's flowers, but they are only "reflected in mirrors, as
                               images of images—twice removed from reality". In the scene of Marion's death, Brill describes the transition from the
                               bathroom drain to Marion's lifeless eye, "like the eye of the amorphous sea creature at the end of Fellini's La Doice Vita,
                               it marks the birth of death, an emblem of final hopelessness and corruption" !174!
                               Marion is deprived of "the humble treasures of love, marriage, home and family", which Hitchcock considers elements of
                               human happiness. There exists among Psycho's secondary characters a lack of "familial warmth and stability", which
                               demonstrates the unlikelihood of domestic fantasies. The film contains ironic jokes about domesticity, such as when Sam
                               writes a letter to Marion, agreeing to marry her, only after the audience sees her buried in the swamp. Sam and Marion's
                               sister Lila, in investigating Marion's disappearance, develop an "increasingly connubial” relationship, a development that
                               Marion is denied.!'”5] Norman also suffers a similarly perverse definition of domesticity. He has "an infantile and divided
                               personality” and lives in a mansion whose past occupies the present. Norman displays stuffed birds that are "frozen in
                               time" and keeps childhood toys and stuffed animals in his room. He is hostile toward suggestions to move from the past,
                               such as with Marion's suggestion to put his mother "someplace" and as a result kills Marion to preserve his past. Brill
                               explains: "'Someplace' for Norman is where his delusions of love, home, and family are declared invalid and
                               exposed” {761
                               Light and darkness feature prominently in Psycho. The first shot after the intertitle is the sunny landscape of Phoenix
                               before the camera enters a dark hotel room where Sam and Marion appear as bright figures. Marion is almost
                               immediately cast in darkness; she is preceded by her shadow as she reenters the office to steal money and as she
                               enters her bedroom. When she flees Phoenix, darkness descends on her drive. The following sunny morning is
                               punctured by a watchful police officer with black sunglasses, and she finally arrives at the Bates Motel in near
                               darkness.!'”7] Briaht liahts are also "the ironic equivalent of darkness" in the film. blindina instead of illuminatina.



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                               explains: "'Someplace' for Norman is where his delusions of love, home, and family are declared invalid and
                           exposed" {1761
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                               before the camera enters a dark hotel room where Sam and Marion appear as bright figures. Marion is almost
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                               enters her bedroom. When she flees Phoenix, darkness descends on her drive. The following sunny morning is
                               punctured by a watchful police officer with black sunglasses, and she finally arrives at the Bates Motel in near
                               darkness.!'7"] Bright lights are also "the ironic equivalent of darkness" in the film, blinding instead of illuminating.
                               Examples of brightness include the opening window shades in Sam's and Marion's hotel room, vehicle headlights at
                               night, the neon sign at the Bates Motel, "the glaring white" of the bathroom tiles where Marion dies, and the fruit cellar's
                               exposed light bulb shining on the corpse of Norman's mother. Such bright lights typically characterize danger and
                               violence in Hitchcock's films.!"78

                               Motifs [{ edit}

                               The film often features shadows, mirrors, windows, and, less so, water. The shadows are present from the first scene
                               where the blinds make bars on Marion and Sam as they peer out of the window. The stuffed birds' shadows loom over
                               Marion as she eats, and Norman's mother is seen in only shadows until the end. More subtly, backlighting turns the rakes
                               in the hardware store into talons above Lila's head !'79I
                               Mirrors reflect Marion as she packs, her eyes as she checks the rear-view mirror, her face in the policeman's sunglasses,
                               and her hands as she counts out the money in the car dealership's bathroom. A motel window serves as a mirror by
                               reflecting Marion and Norman together. Hitchcock shoots through Marion's windshield and the telephone booth, when
                               Arbogast phones Sam and Lila. The heavy downpour can be seen as a foreshadowing of the shower, and its cessation
                               can be seen as a symbol of Marion making up her mind to return to Phoenix._!"79!
                               There are a number of references to birds. Marion's last name is Crane and she is from Phoenix. Norman comments that
                               Marion eats like a bird. The motel room has pictures of birds on the wall. Brigitte Peucker also suggests that Norman's
                               hobby of stuffing birds literalizes the British slang expression for sex, "stuffing birds", Dird being British slang for a
                               desirable woman.!'®°] Robert Allan suggests that Norman's mother is his original "stuffed bird", both in the sense of
                               having preserved her body and the incestuous nature of Norman's emotional bond with her.{184]

                               Psychoanalytic interpretation [ edit}

                               Psycho has been called "the first psychoanalytical thriller". '"82] The sex and violence in the film were unlike anything
                               previously seen in a mainstream film. French film critic Serge Kaganski wrote: "The shower scene is both feared and
                               desired. Hitchcock may be scaring his female viewers out of their wits, but he is turning his male viewers into potential
                               rapists because Janet Leigh has been turning men on ever since she appeared in her brassiere in the first scene” {82
                               In his documentary The Pervert's Guide to Cinema, Slavoj Zizek remarks that Norman Bates' mansion has three floors,
                               paralleling the three levels of the human mind that are postulated by Freudian psychoanalysis: the top floor would be the
                               superego, where Bates' mother lives: the ground floor is then Bates’ ego, where he functions as an apparently normal
                               human being; and the basement would be Bates’ id. ZiZek interprets Bates' moving his mother's corpse from top floor to
                               basement as a symbol for the deep connection that psychoanalysis posits between superego and id!"

                               Accolades          [edit]

                                          Award                                 Category                              Nominee(s)                      Result

                                                                Best Director                           Alfred Hitchcock                             Nominated

                                                                Best Supporting Actress                 Janet Leigh                                  Nominated

                                                                                                        Joseph Hurley, Robert Clatworthy       and
                                Academy Awards                  Best Art Direction — Black-and-White    seone a       Y                    y         Nominated

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                                             Award                               Category                                 Nominee(s)                    Result
                                                                 Best Director                             Alfred Hitchcock                            Nominated

                                                                 Best Supporting Actress                   Janet Leigh                                 Nominated

                                                                                                           Joseph Hurley, Robert Clatworthy and
                                Academy Awards                   Best Art Direction — Black-and-White           P       ¥                  y           Nominated
                                                                                                           George Milo

                                                                 Best Cinematography      — Black-and-
                                                                    :                                      John L. Russell                             Nominated
                                                                White
                                 Bambi Awards                    Best Actor — International                Anthony Perkins                             Nominated

                                Cahiers du cinéma                Best Film                                                                             Nominated

                                 Directors Guild of              Outstanding Directorial Achievement _| Alfred Hitchcock                               Nomin
                                America Awards                   in Motion Pictures

                                                                                                           Joseph Stefano (screenwriter) and
                                 Edgar Allan Poe Awards          Best Motion Picture Screenplay
                                                                                                           Robert Bloch (author)

                                                                 Best Supporting Actress — Motion                   -
                                Golden Globe Awards                ;                                       Janet Leigh
                                                                 Picture

                                                                Top Drama                                                                              Nominated
                                 Laurel Awards
                                                                Top Female Supporting Performance        | Janet Leigh                                 Nominated

                                 National Film                       ;      ;       ;
                                           /                     National Film Registry
                                 Preservation Board

                                        -                                                                  Psycho (Part of the Alfred Hitchcock: The
                                Satellite Awards (2005)                                                            :                                   Nominated
                                                                 Best Classic DVD                          Masterpiece Collection)
                                Satellite Awards (2008)                                                   Psycho                                       Nominated

                                Saturn Awards (2008)                                                       Psycho (Universal Legacy Series)             Won
                                                                 Best Classic Film Release
                                Saturn Awards (2010)                                                       Psycho (The 50th Anniversary Edition)       Nominated

                                                                                               ;           Psycho (Part of the Alfred Hitchcock: The
                                Saturn Awards (2012)             Best DVD or Blu-ray Collection                     :                                  Nominated
                                                                                                           Masterpiece Collection)

                                Writers Guild of America                 ;         ;                                                                       ;
                                Awards                           Best Written American Drama               Joseph Stefano                              Nominated


                               In 1992, the film was deemed "culturally, historically, or aesthetically significant" by the United States Library of Congress
                               and was selected for preservation in the National Film Registry.'"*! In 1998, TV Guide ranked it #8 on their list of the 50
                               Greatest Movies on TV (and Video).!"®41
                               Psycho       has appeared   on a number of lists by websites, television channels,   and magazines. The shower scene was

                               featured as number four on the list of Bravo Network's 100 Scariest Movie Moments, !'®5! whilst the finale was ranked
                               number four on Premiere's similar list.'"®* In the British Film Institute's 2012 Sight & Sound polls of the greatest films
                               ever made, Psycho was 35th among critics{'®”) and 48th among directors.!"®! In the earlier 2002 version of the list the
                               film ranked 35th among critics!'®°! and 19th among directors.!'9°ll'9"] |p 1998 Time Out conducted a reader's poll and
                               Psycho was voted the 29th greatest film of all time.!"97! The Village Voice ranked Psycho at No. 19 in its Top 250 "Best
                               Films of the Century” list in 1999, based on a poll of critics.!'9! The film was listed as one of TCM's top 15 most
                               influential films of all time list.'"%4] Entertainment Weekly voted it the 11th Greatest film of all time in 1999.!"9°) In January
                               2002, the film was voted at No. 72 on the list of the "Top 100 Essential Films of All Time" by the National Society of Film
                               Critics.{"91l'97] The film was included in Time's All-Time 100 best movies list in 2005.!9*! In 2005, Tota/ Film magazine
                               ranked Psycho as the 6th-greatest horror film of all time.!"9°] In 2010, The Guardian newspaper ranked it as "the best
                               horror film of all time".2°°! Director Martin Scorsese included Psycho in his list of the 11 scariest horror films of all



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                               horror film of all time".°°) Director Martin Scorsese included Psycho in his list of the 11 scariest horror films of all
                               time.2°"l The film was named as the third best horror movie of all time in a readers’ poll by Rolling Stone magazine in
                               2014.79] jn 2017 Empire magazine's reader's poll ranked Psycho at No. 53 on its list of The 100 Greatest Movies. ! in
                               an earlier poll held by the same magazine in 2008, it was voted 45th on the list of "The 500 Greatest Movies of All
                               Time" 294] jn 2021, the film was ranked at No. 5 by Time Out on their list of "The 100 best horror movies".2°°]
                               In 2012, the Motion Picture Editors Guild listed the film as the twelfth best-edited film of all time based on a survey of its
                               membership.2°°! Psycho was ranked 8th in BBC's 2015 list of the 100 greatest American films.!2°7)
                               American Film Institute has included Psycho in these lists:

                                 e AFI's 100 Years ... 100 Movies — #18
                                 e AFI's 100 Years ... 100 Thrills —#1
                                 e AFI's 100 Years ... 100 Heroes and Villains:
                                     e Norman Bates — #2 Villain
                                 e AFI's 100 Years ... 100 Movie Quotes:
                                     e "A boy's best friend is his mother." — #56
                                 e AFI's 100 Years of Film Scores — #4
                                 e AFI's 100 Years ... 100 Movies (10th Anniversary Edition) — #14


                               Legacy        [edit]
                               Psycho has become one of the most recognizable films in cinema history, and is arguably Hitchcock's best known
                               film.[2°81[2091I219) tn his novel, Bloch used an uncommon plot structure: he repeatedly introduced sympathetic
                               protagonists, then killed them off. This played on his reader's expectations of traditional plots, leaving them uncertain and
                               anxious. Hitchcock recognized the effect this approach could have on audiences, and utilized it in his adaptation, killing
                               off Leigh's character at the end of the first act. This daring plot device, coupled with the fact that the character was played
                               by the biggest box-office name in the film, was a shocking turn of events in 1960_!"19)
                               The shower scene has become a pop culture touchstone and is often regarded as one of the most iconic moments in
                               cinematic history, as well as the most suspenseful scene ever filmed. Its effectiveness is often credited to the use of
                               startling editing techniques borrowed from the Soviet montage filmmakers,!*"I2'7] and to the iconic screeching violins in
                               Bernard Herrmann's musical score. In 2000 The Guardian ranked the shower scene at No. 2 on their list of "The top 10
                               film moments" 2"! The scene has been frequently parodied and referenced in popular culture, complete with the
                               screeching violin sound effects (such as Charlie and the Chocolate Factory, among many others).!2"4ll2"5] 7g/52:
                               Hitchcock's Shower Scene, a documentary on its production by Alexandre O. Philippe, was released on October 13,
                               2017. It features interviews with and analysis by Guillermo del Toro, Peter Bogdanovich, Bret Easton Ellis, Jamie Lee
                               Curtis, Karyn Kusama, Eli Roth, Oz Perkins, Leigh Whannell, Walter Murch, Danny Elfman, Elijah Wood, Richard
                               Stanley, and Neil Marshall.{261l217]
                               Psycho is considered by some to be the first film in the slasher film genre,!?"®!?'9] though some critics and film historians
                               point to Michael Powell's Peeping Tom, a lesser-known film with similar themes of voyeurism and sexualized violence,
                               whose release happened to precede Psycho's by a few months.?2°] However, due to Peeping Tom's critical drubbing at
                               the time and short lifespan at the box office, Psycho was the more widely known and influential film.
                               Psycho has been referenced in other films numerous times: examples include the 1974 musical horror film Phantom of
                               the Paradise; the 1978 horror film Halloween (which starred Jamie Lee Curtis, Janet Leigh's daughter, and which




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                               Stanley, and Neil Marshall [2161217]
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                               Psycho is considered by some to be the first film in the slasher film genre, !?"5II219] though some critics and film historians
                               point to Michael Powell's Peeping Tom, a lesser-known film with similar themes of voyeurism and sexualized violence,
                               whose release happened to precede Psycho's by a few months.?2°! However, due to Peeping Tom's critical drubbing at
                               the time and short lifespan at the box office, Psycho was the more widely known and influential film.
                               Psycho has been referenced in other films numerous times: examples include the 1974 musical horror film Phantom of
                               the Paradise; the 1978 horror film Halloween (which starred Jamie Lee Curtis, Janet Leigh's daughter, and which
                               featured a character Sam Loomis);!?2" the 1977 Mel Brooks tribute to many of Hitchcock's thrillers, High Anxiety; the
                               1980 Fade to Black. the 1980 Dressed to Kill; and Wes Craven's 1996 horror satire Scream.?2?] Bernard Herrmann's
                               opening theme has been sampled by rapper Busta Rhymes on his song "Gimme Some More" (1998).22! Manuel
                               Mufioz's 2011 novel What You See in the Dark includes a sub-plot that fictionalizes elements of the filming of Psycho,
                               referring to Hitchcock and Leigh only as "The Director" and "The Actress".224] in the comic book stories of Jonni Future,
                               the house inherited by the title character is patterned after the Bates Motel.!2?5! The film was played alongside The
                               Shining at the drive-in theater as part of the Night of Horrors combo in the 1996 film Twister.'°7°) In the 2003 animated
                               film Finding Nemo, the dentist's niece Darla repeatedly plays the Psycho theme song.'227]
                               The film boosted Perkins’ career, but he soon began to suffer from typecasting.'°2°! when Perkins was asked whether he
                               would have still taken the role knowing that he would be typecast afterwards, he said "yes" 25! As Perkins was in New
                               York working on a Broadway stage show when the shower sequence was filmed, actresses Anne Dore and Margo Epper
                               stepped in as his body doubles for that scene.?5°! Until her death in 2004, Leigh received strange and sometimes
                               threatening calls, letters, and even tapes detailing what the caller would like to do to Marion Crane. One letter was so
                               "grotesque" that she passed it to the FBI. Two agents visited Leigh and told her the culprits had been located and that
                               she should notify the FBI if she received any more letters of that type.!2>"
                               Leigh said: "No other murder mystery in the history of the movies has inspired such merchandising".'2°2! A number of
                               items emblazoned with Bates Motel, stills, lobby cards, and highly valuable posters are available for purchase. In 1992
                               Innovation Comics published a three-issue, shot-for-shot comics miniseries adaptation of the film.[232!
                               Metalcore band    Ice Nine Kills released a song on their most recent album    The Silver Scream   2: Welcome   to Horrorwood

                               called "The Shower Scene", which       pays homage to the film.



                               Sequels and remake                 [edit
                                   See also: Psycho (franchise)
                               Three sequels were produced after Hitchcock died: Psycho I! (1983), Psycho /I! (1986), and Psycho IV: The Beginning
                               (1990), the last being a part-prequel television movie written by the original screenplay author, Joseph Stefano. Anthony
                               Perkins retumed to his role of Norman Bates in all three sequels, and also directed the third film. The voice of Norman
                               Bates' mother was maintained by noted radio actress Virginia Gregg with the exception of Psycho /V, where the role was
                               played by Olivia Hussey. Vera Miles also reprised her role of Lila Crane in Psycho #/.'233] The sequels received mixed
                               reviews and were universally considered inferior to the original.!°341l295ll236ll2371l238]
                               In 1998, Gus Van Sant made a nearly shot-for-shot remake (in color) starring Vince Vaughn, Julianne Moore, and Anne
                               Heche.239! van Sant said that his film was "a huge kind of experimental project”, and that, though it did not do well
                               commercially or critically, he may do it again, with more changes. !24°

                               See also        [edit]
                                 e Bates Motel, a television series that ran from 2013 to 2017 presented as a "prequel" to Psycho, though set in modern
                                   times. Freddie Highmore played a younger Norman Bates, Vera Farmiga played Norma Bates and in the final
                                   season, Rihanna guest-starred as Marion Crane.
                                 e False protagonist
                                 e Hitchcock, a 2012 biopic film about Hitchcock and the making of Psycho with Anthony Hopkins as Hitchcock, Helen
                                   Mirren as his wife Alma Reville, Scarlett Johansson as Janet Leigh, and James D'Arcy as Anthony Perkins.



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                           See also [edit] Document #: 28-9 Filed: 10/07/22 Page 22 of 32 PageID #:297
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                                 e Bates Motel, a television series that ran from 2013 to 2017 presented as a "prequel" to Psycho, though set in modern
                                   times. Freddie Highmore played a younger Norman Bates, Vera Farmiga played Norma Bates and in the final
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                                   Mirren as his wife Alma Reville, Scarlett Johansson as Janet Leigh, and James D'Arcy as Anthony Perkins.
                                 e List of American films of 1960


                               Notes        [edit]
                                    1. “ After the film's release, Paramount transferred the film rights to Hitchcock, who later sold the distribution rights to Universal
                                       Pictures in 1962.!] Universal would in tum sublicense North American distribution rights to Paramount until 1968.!°!

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                                   21. “2” Rebello 1990, p. 23
                                   22. * Rebello 1990, pp. 26-29
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